                                                                                                                             Entered on Docket
                                                                                                                             January 20, 2016
                                                                                                                             EDWARD J. EMMONS, CLERK
                                                                                                                             U.S. BANKRUPTCY COURT
                                                                                                                             NORTHERN DISTRICT OF CALIFORNIA

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                                                                     7                  jrosell@pszjlaw.com      U.S. Bankruptcy Judge


                                                                     8   Counsel for Debtor

                                                                     9                                  UNITED STATES BANKRUPTCY COURT
                                                                                                        NORTHERN DISTRICT OF CALIFORNIA
                                                                    10                                       SAN FRANCISCO DIVISION
                                                                    11   In re:                                                        Case No. 15-31141-HB
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12   NEWZOOM, INC.,1                                               Chapter 11
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13
                                            ATTORNEYS AT LAW




                                                                                                            Debtor.                    ORDER PURSUANT TO 11 U.S.C. § 363
                                                                                                                                       APPROVING THE ENGAGEMENT
                                                                    14                                                                 CONTRACT OF FTI CONSULTING INC.
                                                                                                                                       TO PROVIDE ANDREW HINKELMAN
                                                                    15                                                                 AS CHIEF RESTRUCTURING OFFICER
                                                                                                                                       OF THE DEBTOR AND TO ASSIST THE
                                                                    16                                                                 CRO, NUNC PRO TUNC TO THE
                                                                                                                                       PETITION DATE
                                                                    17

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                                                                    19            Upon the motion (the “Motion”)2 of the above-captioned debtor and debtor in possession (the

                                                                    20   “Debtor”) for the entry of an order approving the letter agreement (the “Engagement Contract”)

                                                                    21   dated September 8, 2015, by and between the Debtor and FTI Consulting, Inc. (“FTI”); and upon

                                                                    22   consideration of the Hinkelman Declaration as supplemented; and due and proper notice of the

                                                                    23   Application having been given under the circumstances; and the Court being satisfied based on the

                                                                    24   representations made in the Application and the declarations filed by Andrew Hinkelman in support

                                                                    25   of the Motion [Docket Nos. 116, 157, 239, and 239] that neither FTI, nor Mr. Hinkelman represents

                                                                    26   an interest adverse to the Debtor’s estate with respect to the matters upon which they are to be
                                                                         1
                                                                    27     The last four digits of the Debtor’s tax identification number are: (9130). The location of the Debtor’s headquarters
                                                                         and service address is 22 Fourth Street, San Francisco, CA 94103.
                                                                         2
                                                                    28     Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Application.


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                                                                     1   engaged, and that their employment is necessary and would be in the best interests of the Debtor’s

                                                                     2   estate, and after due deliberation and sufficient cause appearing therefor,

                                                                     3          IT IS HEREBY ORDERED THAT:

                                                                     4          1.      The Application is GRANTED as set forth herein.

                                                                     5          2.      The Debtor is authorized, nunc pro tunc to the Petition Date, to (i) employ and retain

                                                                     6   FTI on the terms set forth in the Engagement Contract, subject to the limitations set forth herein,

                                                                     7   which apply notwithstanding anything in the Engagement Contract or Application to the contrary;

                                                                     8   and (ii) designate Andrew Hinkelman as Chief Restructuring Officer (“CRO”) of the Debtor.

                                                                     9          3.      All compensation and reimbursement due to, and other rights of, the CRO and FTI

                                                                    10   under the Engagement Contract shall be treated and allowed (subject to the compensation review

                                                                    11   procedures identified in this Order) as administrative expenses in accordance with section 503 of the
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                                                                    12   Bankruptcy Code and shall be paid in accordance with the Engagement Contract.
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                                                                    13          4.      The CRO and FTI shall not act in any other capacity (for example, and without
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                                                                    14   limitation, as a financial advisor, claims agent or claims administrator or investor/acquirer) in

                                                                    15   connection with the above-captioned case.

                                                                    16          5.      In the event the Debtor seeks to have FTI personnel assume additional or different

                                                                    17   executive positions than the positions disclosed in the Application, to modify materially the

                                                                    18   functions of the persons engaged, or to materially change the terms of the engagement by either (i)

                                                                    19   modifying the functions of personnel, (ii) adding new personnel, or (iii) altering or expanding the

                                                                    20   scope of the engagement, a motion to modify the retention shall be filed.

                                                                    21          6.      No principal, employee or independent contractor of FTI shall serve as a director of

                                                                    22   the Debtor during the pendency of this case.

                                                                    23          7.      FTI shall file with the Court, with copies to the United States Trustee and all official

                                                                    24   committees, a report of staffing on the engagement for the previous month. Such report shall include

                                                                    25   the names and functions filled of the individuals assigned. All staffing shall be subject to review by

                                                                    26   the Court in the event an objection is filed.

                                                                    27          8.      FTI shall file with the Court (and serve copies on the United States Trustee and any

                                                                    28   official committees appointed in this case contemporaneously with such filing) reports of

                                                                                                                            2
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                                                                     1   compensation earned and expenses incurred on at least a quarterly basis. Such reports shall contain

                                                                     2   summary charts which describe services provided, identify the compensation earned by each

                                                                     3   executive officer and staff employee, and itemize the expenses incurred. Time records for the CRO

                                                                     4   and all Additional Personnel (i) be appended to the reports, (ii) contain detailed time entries

                                                                     5   describing the task(s) performed, and (iii) be organized by project category. When personnel are

                                                                     6   providing services at an hourly rate, such personnel shall record their time entries in increments no

                                                                     7   greater than one-half hour (0.5). All compensation shall be subject to review by the Court in the

                                                                     8   event an objection is filed. The first quarterly report will be submitted forty-five (45) days from the

                                                                     9   end of the first calendar quarter after the Petition Date and will cover the period to and including the

                                                                    10   last day of the first quarter after the Petition Date. This procedure will continue at three month

                                                                    11   intervals thereafter.
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                                                                    12           9.      The Debtor is permitted to indemnify those persons serving as corporate officers
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                                                                    13   pursuant to the Application on the same terms as provided to the Debtor’s other officers and
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                                                                    14   directors under the Debtor’s bylaws and applicable state law.

                                                                    15           10.     For a period of three (3) years after the conclusion of the engagement, neither FTI nor

                                                                    16   any of its affiliates shall make any investments in the Debtor or the Reorganized Debtor.

                                                                    17           11.     FTI shall disclose any and all facts that may have a bearing on whether the firm, its

                                                                    18   affiliates, and/or any individuals working on the engagement hold or represent any interest adverse

                                                                    19   to the Debtor, its creditors, or other parties in interest. The obligation to disclose identified in this

                                                                    20   subparagraph is a continuing obligation.

                                                                    21           12.     Notwithstanding anything to the contrary in paragraph 3 of Engagement Contract, the

                                                                    22   Debtor shall not be required to compensate FTI if the Debtor hires an employee of FTI.

                                                                    23           13.     The terms of this Order shall be immediately effective and enforceable upon its entry.

                                                                    24           14.     The Court shall retain jurisdiction to hear and determine all matters arising from or

                                                                    25   related to the implementation of this Order.

                                                                    26
                                                                                                                 ***END OF ORDER***
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